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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                              CASE NO.       1210020-CR-MARTINEZ


  UNITED STATES OF AMERICA

  vs.

  AMMON COVINO,

                             Defendant. /


                     GOVERNMENT=S SENTENCING MEMORANDUM


         The United States of America hereby responds to that portion of Defendant Covino’s

  Objections to the Presentence Investigation Report And Sentencing Memorandum [D.E.-93-2],

  dated November 15, 2013, which addresses sentencing, as distinct from the portion of

  defendant’s pleading addressing objections directed to the Guideline calculations, which have

  been separately addressed in the Government’s response to those objections [D.E.-97], and in

  response thereto would show:

                                         BACKGROUND

         Defendant stands convicted upon his plea of guilty to a single count of conspiracy

  stemming from his involvement in the illegal purchase and sale of fish/wildlife, in violation of

  the laws of the State of Florida and the federal Lacey Act, all in violation of Title 18, United

  States Code, Section 371. The Joint Factual Statement [D.E.-68], executed and submitted to the

  Court in support of the written Plea GREEMENT [D.E.-69] in this matter on September 24,

  2013, contains the relevant facts establishing the criminal violation by defendant. The Revised
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  PSR [D.E.-93] concludes that defendant’s properly calculated Guideline Range is Level 14,

  Criminal History Category I, in Zone D, and equates to an advisory Guideline Range of 15- 21

  months. Subject to the Court’s resolution of the two pending objections by defendant, this matter

  stands ready for sentencing.

                                            DISCUSSION

                                   1. The Criminal Offense Conduct

         Defendant was in the pre-eminent position at the Idaho Aquarium, Inc. (IAI) to assure

  that the business activities of the entity were properly executed. Instead, through self-dealing and

  flagrant violation of State and federal law, he and his co-conspirators enriched themselves and

  rendered the non-profit IAI criminally liable. Further, his efforts to protect himself from

  accountability, and to conceal on-going efforts at further criminal activity, he induced and

  persuaded his otherwise uninvolved nephew to engage in the obstruction of justice, as reflected

  in the decision and sentence in United States v. Peter C. Covino, IV, Case No.

  13-10010-CR-MARTINEZ

  1.     Contrary to the mis-informed views expressed in letters submitted on behalf of defendant

  - some relating back to his detention proceedings and pre-dating his entry of a guilty plea – there

  are not tapes, transcripts or evidence of other ilk demonstrating efforts by anyone to pressure

  Ammon Covino into violating Florida law regulating the take and sale of the species in this case.

  To the contrary, the Joint Factual Statement, and the evidence of the recorded conversations

  establish that defendant was not only warned regarding the requirements, but was actually

  supplied the necessary forms to seek proper authorization for the collection activities. His

  decision to short-cut the requirements of the law are best appreciated by reviewing his own


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  language regarding the requirements, as in D.E.-68 at ¶¶ 11, 16, when advised his source could

  not get permits for the desired wildlife, COVINO responded in part, “No one’s gonna know,

  dude, but me and you, man, if we do this . . . Just start doing it . . . Who gives a shit, man,?” and

  it was Ano big deal@ that sharks being purchased for the IAI would have no valid permits.

  2.     In his current pleading, without support of any kind, defendant would have the Court

  conclude he in some fashion relied upon “fish and wildlife officials in Idaho” from whom he

  received incorrect information. D.E.-93-2at 9 n.6. In fact, COVINO had expressed his view of

  the Idaho Department of Fish & Game to his Monroe County-based supplier in a conversation

  recorded on September 1, 2012, when he assured that it was “no big deal” that the spotted eagle

  rays being discussed lacked the requisite permits and asserted that “We’re not telling anybody”

  and that all he needed in Idaho was a health certificate to show local authorities, who were

  “about as dumb as a fricking bag of hair.” There is not a scintilla of evidence to suggest

  defendant relied at any time on erroneous information provided by any law enforcement source,

  but rather he denigrated their abilities and expressed confidence in his own capacity to simply

  avoid and evade their oversight.

         Defendant, despite his assertions, is not an atypical offender of the wildlife protection

  laws. States utilize their licensing and permitting regimes as management tools to identify

  pressures being placed on species of concern and as a mechanism for precluding harvest beyond

  the maximum sustainable yield. Sharks and rays, both members of the elasmobranch family of

  fish, are subject to careful regulation by the State of Florida in the Florida Administrative Code at

   Section 68B-44.008(1)(ee) which provides that no person shall harvest, possess, land, purchase,

  sell, or exchange any or any part of a spotted eagle ray (Aetobatus narinari) and Section


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  68B-44.008(1)(L) which provides that no person shall harvest, possess, land, purchase, sell, or

  exchange any or any part of a lemon shark (Negaprion brevirostris). To avoid that

  conservation-based prohibition Florida requires a Special Activities License to harvest, transport,

  or display for educational purposes any eagle ray or shark species. Defendant’s comments

  claiming these species are not depleted in any way is thus belied by the letter of, and management

  practices of the State of Florida.

                                2.     The Criminal Obstruction Conduct

         Defendant’s conduct was not an impulsive reaction to discovering that his criminal

  conduct had been uncovered. He was arrested, offered and opportunity to discuss his case with

  agents, appeared in Court in the District of Idaho, and was provided a copy of the complaint

  against him, which provided a significant level of insight into his circumstances. Not until that

  evening did he contact his nephew on multiple occasions and solicit his effort to impeded justice.

  He induced Peter Covino, IV, to attempt to eliminate evidence against him that included payment

  records, invoices, shipping documents, and text messages discussing his illegal business

  transactions that had occurred in the past, where on-going, and that extended to business entities

  beyond just the IAI, to include the Portland Aquarium, in which defendant has admitted an

  ownership interest.. To now claim that the efforts, which necessarily included consultation

  between defendant and his nephew between the two calls to Florida, is illustrative of defendant’s

  underlying character, and provides insight relevant to several of the factors recited in Title 18,

  United States Code, Section 3553(a).

                                        3. Family Circumstances

     Defendant, on Motion and though multiple submission son his behalf describes at great


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     length his family circumstances and his perception of the likely impact of any custodial

     sentence. Further, he urges this court to engage in a downward departure from the advisory

     Sentencing Guideline range ultimately calculated in this matter, to insure that no period of

     incarceration is imposed. He relies for that purpose on Section 5H1.6 of the sentencing

     Guidelines, which he concedes on Motion was specifically amended in 2003 to limit the

     availability of such departures, and the Policy Statement of which clearly notes that for an

     offense such as in the instant case, “ . . . family ties and responsibilities are not ordinarily

     relevant in determining whether a departure may be warranted.”

        In considering this request, the Court must necessarily consider as well the factors

     enunciated in the accompanying Application Notes, which expressly recognize that collateral

     impact, both financial and in terms of care-giving activity, invariably occurs in every instance

     where an advisory sentencing range calls for any period of incarceration. Indeed, the thrust of

     the notes and case law addressing the gamut of Section 5H characteristics is that the impact,

     to be cognizable, must exceed the harm “ordinarily incident to incarceration for a similarly

     situated defendant.” See, e.g., Section 5H1.6 App. Note 1(B)(ii).

        While defendant has a large family, with commensurate responsibilities, it is not apparent

     that his responsibilities exceed in kind and quantum, those faced by a similarly situated

     defendant. Indeed, he may in fact be somewhat better off than most, because he has

     established by his pleadings that his extended family is geographically available to assist, are

     motivated to do so, and are strongly supportive.

        In any attempt to take advantage of a downward departure, defendant bears the burden of

     establishing that he is so dissimilarly situated that he takes the benefit of Section 5H1.6. To


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     meet the standard of the Guidelines he would have to demonstrate that the impact under these

     standards “substantially excess” the similar harm suffered by other families when the

     bread-winner is incarcerated. Defendant has not done that.

        The Court, even in the post-Booker era, is bound to apply the Guidelines in the three-step

     manner mandated by Section 1B1.1. After making all other decisions to properly calculate the

     advisory range, the Court then assesses the impact and effect of Parts H and K of Chapter

     Five. See, e.g., Section 1B1.1(a) and (b). Thereafter, the mandates of the 18 U.S.C. § 3553(a)

     factors, taken as a whole come into play.

                                        4. Statutory Factors

        The factors enumerated in Title 18, United States Code, Section 3553 stand compellingly

     for the proposition that defendant=s conduct warrants a period of incarceration. Defendant,

     largely through letters filed on his behalf has acquainted this Honorable Court with some of

     his personal characteristics and history. While the letters almost uniformly seek to minimize

     and excuse defendant=s criminal conduct, they do not reflect in any significant way actual

     insight into the manner and the impact of his conduct as addressed by Section 3553(a)(1) -

     Athe nature and circumstances of the offense.@

        The government is recommending a sentence that includes a period of incarceration,

     sufficient, but not beyond that necessary to effectuate the legitimate goals of sentencing.

     The government strongly believes that such a sentence is necessary to reasonably accomplish

     the sentencing goals of retribution, rehabilitation, incapacitation, and deterrence that the

     statutory factors seek to achieve. A lesser sentence would simply trivialize the wrongdoing,

     likely result in an unwarranted disparity in sentencing, and not serve to reduce the potential


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     for recidivism by the defendant and continued similar conduct by other similarly inclined

     offenders.

        In United States v. Pugh, 515 F.3d 1179 (11th Cir. 2008), the Court engaged in a careful

     analysis of the factors in §3553(a), and in the context of that case found a probationary

     sentence substantively unreasonable. A subsequent, analogous result was reached in United

     States v. Irey, 612 F.3d 1160 (11th Cir. 2010), which also rejected a below-Guidelines

     sentence as substantively unreasonable. While the sentence durations and substantive facts

     are admittedly different from case to case, the general guidance provided by these cases is

     useful in the application of the sentencing factors. For example, following defendant’s logic,

     he would have the court, by departure or variance, impose no incarceration at sentencing,

     relying on the latter portion of Section 3553(a)(1) – “the history and characteristics of the

     defendant.” Such a result though, is manifestly unreasonable when viewed in pari material

     with Section 3553(a)(2).

        COVINO’s offense occurred in the context of an industry that is extraordinarily difficult

     to effectively police and which appears all to ready to cut corners and ignore legal

     requirements to secure additional resources. Even in cases involving a “non-profit” such as

     IAA, the financial benefits to the individuals clearly became a driving force behind extending

     and enlarging the facility and attracting new visitors. That economic benefit is readily

     apparent in the PSR analysis of the income to defendant upon the opening and operation of

     IAI. As in most white-collar crime, deterrence really takes only two forms – financial

     penalties and/or incarceration. Often, as here, a financial penalty is simply not available, and

     would truly work a more disproportionate harm on families than on the defendants


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     themselves.

         The Eleventh Circuit has seen the need to focus greater attention on the issue of general

  deterrence in the context of white collar crime. In United States v. Martin, 455 F.3d 1227, 1240

  (11th Cir. 2006), the decision took the trial court to task for focusing excessively on the individual

  deterrence factor and thereby failing Ato afford adequate deterrence to criminal conduct.@ 18

  U.S.C. ' 3553(a)(2)(B). Citing to the Senate Report, by the Congress that enacted Section 3553,

  the Court understood that deterrence was of particular concern to Congress in the area of white

  collar crime and recognized A . . . the critical deterrent value of imprisoning serious white collar

  criminals, even where those criminals might themselves be unlikely to commit another offense . .

  . .@ Id. The Senate Report specifically expressed the view that probation was too often imposed in

  white collar crime cases, with inadequate A . . . consideration being given to the fact that the

  heightened deterrent effect of incarceration and the readily perceivable receipt of just punishment

  accorded by incarceration were of critical importance.@ Id. The Court, in Martin, opined that

  economic and fraud-based crimes are Aprime candidate[s] for general deterrence@ because they

  are Amore rational, cool, and calculated than sudden crimes of passion or opportunity.@ 455 F.3d

  at 1240 (citation omitted, alteration in original).   If defendants convicted of fraud-based crimes

  receive variant sentences, with little or no incarceration, then the message to similarly-situated

  defendants Ais that would-be white-collar criminals stand to lose little more than a portion of

  their ill-gotten gains and practically none of their liberty.@ Id. The principle of Martin is

  applicable with equal force in a resource violation case, where defendants are motivated by

  economic return and place the compliant members of the industry at an inordinate competitive

  disadvantage.


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         Defendant was convicted on his plea of guilty to a conspiracy to violate the Lacey Act.

  Originally, criminal violations of the Lacey Act were only classified as misdemeanors. In 1981,

  however, concerned about the effectiveness of the Act, Congress increased the applicable

  penalties in order to raise the priority of the cases and to encourage judges to impose greater

  penalties. As the Senate Report for the 1981 amendments explained:

                 Although both of these acts [i.e., the Lacey Act and Black Bass
                 Act] have been amended throughout the years, a number of
                 problems have developed that have limited their effectiveness as
                 wildlife law enforcement tools. The penalties are too low, and the
                 culpability standard too stringent. In addition, because criminal
                 violations are presently misdemeanors, U.S. Attorneys are
                 reluctant to give priority to these cases and judges are reluctant to
                 impose substantial penalties.

  See S. Rep. No. 97-123, at 2 (1981), as reprinted in 1981 U.S.C.C.A.N. 1748, 1749 (emphasis

  added). Congress therefore amended the Act to punish some violations as felonies and thereby

  address these perceived problems. See Lacey Act Amendments of 1981, Pub. L. No. 97-79, '

  4(d)(1), 95 Stat. 1073, 1076 (codified as 16 U.S.C. ' 3373(d)(1)); see also United States v.

  McNab, 331 F.3d 1228, 1238 (11th Cir. 2003) (the legislative history reflects that Athe [main]

  thrust of Congress=s intention in amending the Act was to expand its scope and enhance its

  deterrence effect.@)(footnote omitted) (quoting United States v. 594,464 Pounds of Salmon, 871

  F.2d 824, 828 (9th Cir. 1989)); see also Ewing v. California, 538 U.S. 11, 29 (2003) (plurality

  opinion) (noting that courts must Aaccord proper deference to the policy judgments that find

  expression in the legislature=s choice of sanctions@); Blanton v. City of North Las Vegas, 489 U.S.



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   538, 541 (1989).

          Congress’ action clearly addresses Subsections (A) and (B) of Section 3553(a)(2), since

   in the absence of the sense of Congress that Lacey Act violations were indeed a serious matter,

   no amendment to elevate such offenses from misdemeanors to felonies would have been

   necessary, and the linked concern of deterring such conduct would naturally arise from the

   amendments as well. The United States, recognizing that defendant’s prior felony offense

   occurred some time ago, nevertheless lacks the confidence expressed in his Motion that

   recidivism is not a concern to be addressed by a sentence accounting for specific deterrence.

   Defendant’s true attitude toward conservation laws generally and the authorities enforcing those

   laws is more accurately reflected in his unguarded, recorded statements prior to arrest than his

   carefully crafted mea culpa pending sentence. Defendant’s demonstrated disdain for the law and

   its requirements suggest a serious need for this Honorable Court to “promote respect for the law,

   and to provide just punishment for the offense;” by bringing home to he and similarly inclined

   individuals that relying on family circumstances does not provide the proverbial “Get Out Of Jail

   Free” card.

          Deterrence of both the defendant and others inclined to evade the laws intended to protect

   the marine resources of Florida and federal waters would be non-existent if all defendants were

   able to profit from their violations of the law, yet claim insulation from incarceration because of

   the collateral effect that might have on their families. While doubtless home confinement and

   supervisory status imposes some inconveniences on the individual undergoing those restrictions,

   they are largely invisible to the general public and the universe of potential violators. Indeed, in

   the total absence of an option to impose credible monetary penalties as part of an integrated


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   sentence, the only remaining tool to achieve specific and general deterrence is an appropriate

   period of incarceration.

                                                CONCLUSION

                Based on the foregoing discussion, the United States submits that pursuant to the

   advisory Sentencing Guidelines, the sentencing factors enumerated in Title 18, United States

   Code, Section 3553(a), and defendant’s relevant conduct, including his considered decision to

   violate both the substantive laws as charged in the Indictment, and to direct his nephew in an

   effort to obstruct and impede the due administration of justice, as reflected in in United States v.

   Peter C. Covino, IV, Case No. 13-10010-CR-MARTINEZ, warrants a sentence of 21 months of

   custodial confinement, followed by a period of three years supervised release and the imposition

   of the general and special conditions of supervised release reflected in the Revised PSR.

   Additionally, the government respectfully urges this Honorable Court to impose a specific

   employment restriction during the period of supervised release precluding any involvement or

   employment by defendant in the ownership, operation, or management in the aquarium trade,

   whether non-profit or for profit entities.

                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November           27th   , 2013, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF.


                                         s/    Thomas A. Watts-FitzGerald
                                               Assistant U.S. Attorney

                                        SERVICE LIST

                           UNITED STATES v. AMMON COVINO,
                           CASE NO.        12-10020-CR-MARTINEZ
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